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                               IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF COLORADO


  REALTIME ADAPTIVE STREAMING LLC,
                  Plaintiff,
          v.
  BROADCOM CORPORATION AND                                CIVIL ACTION NO. 1:18-CV-01048
  BROADCOM LTD.,

                  Defendants.

                                    JOINT MOTION TO DISMISS

          WHEREAS, Plaintiff Realtime Adaptive Streaming LLC (“Plaintiff”) and Defendants

  Broadcom Corporation and Broadcom Ltd. (n/k/a Broadcom Pte. Ltd.) (collectively,

  “Defendants”) have resolved Plaintiff’s claims for relief against Defendants and Defendants’

  counterclaims for relief (if any) against Plaintiff asserted in this case.

          NOW, THEREFORE, Plaintiff and Defendants, through their attorneys of record, request

  this Court to dismiss Plaintiff’s claims for relief against Defendants with prejudice and

  Defendants’ claims, defenses or counterclaims for relief (if any) against Plaintiff without

  prejudice, and with all attorneys’ fees, costs of court and expenses borne by the party incurring

  same.

   Dated: September 14, 2018                          Respectfully submitted,



                                                      By: /s/ C. Jay Chung

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                                 CERTIFICATE OF SERVICE
         I hereby certify that the foregoing document was served on all counsel of record via

  electronic service on September 14, 2018.



                                                   /s/ C. Jay Chung
